           Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 1 of 22



IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

MARYLAND SHALL ISSUE, INC., et al.,                  *
                                                     *
       Plaintiffs,                                   *
                                                     *       Consolidated Case Nos.
       v.                                            *       21-cv-01736-TDC (L)
                                                     *       8:22-cv-01967-DLB
MONTGOMERY COUNTY, MARYLAND                          *
                                                     *
       Defendant.                                    *

   DEFENDANT’S OPPOSITION TO PLAINTIFFS’ EMERGENCY MOTION FOR A
                 RULE 8 INJUNCTION PENDING APPEAL

       Defendant Montgomery County, Maryland (“the County”), by and through its undersigned

counsel, requests that this Court deny Plaintiffs’ Emergency Motion for a Rule 8 Injunction

Pending Appeal (“Emergency Motion”) 1 because (1) it presents argument beyond what Plaintiffs

described, and this Court subsequently permitted, in their Notice of Intent to File a Motion, (2) it

improperly seeks to introduce new facts and evidence, and (3) Plaintiffs have not meet the high

burden of demonstrating they are entitled to injunctive relief pending appeal.

                                       INTRODUCTION

       The Second Amended Complaint challenges Chapter 57 of the Montgomery Cnty. Code

(MCC), as amended by County Bills 4-12 and 21-22E (the “County Firearms Law”) on a variety

of grounds. On July 6, 2023, the District Court denied the Plaintiffs’ Emergency Motion for

TRO/PI (Temporary Restraining Order/Preliminary Injunction). That Motion sought to enjoin the

County from enforcing MCC § 57-11(a) (generally prohibiting the possession of a firearm in and

with a 100-yard buffer zone around of a defined place of public assembly, with various exceptions)

against persons who have been issued a wear and carry gun permit by the Maryland State Police.



       1
         The County will refer to docket entries in this Court as “ECF,” and will use “Doc.” to
reference docket entries in the interlocutory appeal before the Fourth Circuit.
           Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 2 of 22



(ECF 54, 82). 2

       On July 7, 2023, Plaintiffs took an interlocutory appeal from this Court’s July 6, 2023,

Order denying Plaintiffs’ Emergency Motion for TRO/PI. No. 23-1719. On July 8, 2023, in

accordance with this Court’s Case Management Order (ECF 11), Plaintiffs filed a Notice of Intent

to File a Motion with this Court, seeking permission to file a motion for injunction pending appeal

under Fed. R. App. P. 8 “only” (emphasis in original) as to the restrictions on possession of

firearms in the County’s 100-yard buffer zone under 57-11(a). (ECF 87). When this Court failed

to respond to Plaintiffs’ request in accordance with their timetable, Plaintiffs filed a broader

Emergency Motion for a Rule 8 Injunction Pending Appeal with the Fourth Circuit, seeking an

injunction pending appeal with respect to State permit holders not only as to County restrictions

on possession of a firearm in a 100-yard buffer zone under 57-11(a), but also as to (1) keeping

guns on persons or in vehicles under MCC § 57-10 and (2) possession firearms in houses of

worship. (Doc. 10-1 at 8).

       The Fourth Circuit denied the Plaintiffs’ Motion “without prejudice to consideration of a

future, timely motion” on August 3, 2023. Doc. 21. On August 25, 2023, in response to a request

from the Plaintiffs, the Fourth Circuit issued the following clarification: “In light of the district

court’s inaction on the request for conference, as well as the notation suggesting that the district

court proceedings may be stayed, this Court defers consideration of the instant motion [for an

injunction pending appeal] in order to permit Appellants to seek clarification from the district court

regarding the status of the proceedings.” (Doc. 31).

       The following day, Plaintiffs filed a Motion for Clarification regarding the status of the



       2
         As alternative relief, Plaintiffs sought to enjoin § 57-11(a) only as to two specified places
of public assembly—houses of worship, private schools—and within 100 yards of any place of
public assembly.
                                                  2
           Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 3 of 22



proceedings in this Court. (ECF 91). On August 29, this Court issued an Order addressing

Plaintiffs’ Notice of Intent (ECF 87) and Motion for Clarification (ECF 91). This Court granted

the Plaintiffs’ request to file a Motion for Injunction Pending Appeal and established a briefing

schedule. (ECF 92).

       This Court specified that the Plaintiffs’ Motion for Injunction Pending Appeal must be

limited to the motion Plaintiffs described in their Notice of Intent. “All briefs must be docketed in

the present case in the United States District Court, must directly address the relief sought by

Plaintiffs from this Court, as opposed to the relief sought from the United States Court of Appeals,

and must conform to the current Local Rules for the United States District Court for the District

of Maryland and this Court’s Case Management Order, ECF 11.” (ECF 92). Plaintiffs filed their

Emergency Motion for Injunction Pending Appeal on August 30. (ECF 93).

                                 SUMMARY OF ARGUMENT

       This Court should deny Plaintiffs’ Emergency Motion on both procedural and substantive

grounds. The Emergency Motion should be denied on procedural grounds for the following

reasons:

   •   It is not in compliance with this Court’s Case Management Order (ECF 11) or this

       Court’s August 29 Order. (ECF 93). In their Notice of Intent, Plaintiffs told this Court

       that its proposed Motion for Injunction Pending Appeal would “only” (emphasis in

       original) address the restrictions of possession of a firearm in the County’s 100-yard

       buffer zone under MCC § 57-11(a). (ECF 87). Plaintiffs’ Motion challenges restrictions

       on carry in places of worship, an issue outside their Notice of Intent.

   •   The Emergency Motion improperly attempts to include new factual allegations in the

       form of two supplemental declarations and maps that were not previously before this


                                                 3
         Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 4 of 22



       Court and should therefore be stricken. (ECF 93 at 15-18); ECF 93-1; ECF 93-2).

       The Emergency Motion should be denied on substantive grounds because Plaintiffs have

not met the heavy burden of showing they are entitled to the extraordinary remedy of an

injunction pending appeal.


                                    STANDARD OF REVIEW

       A request for an injunction pending appeal under FRAP 8 “[d]emands a significantly higher

justification” than a request for a stay, because unlike a stay, an injunction “does not simply

suspend judicial alteration of the status quo but grants judicial intervention…” Respect Me. PAC

v. McKee, 562 U.S. 996 (2010) (citing Ohio Citizens for Responsible Energy, Inc. v. NRC, 479 U.

S. 1312, 1313 (1986)).

       The “demanding” four-part test for evaluating a Rule 8 request for injunction articulated

by the U.S. Supreme Court is: “(1) whether the stay applicant has made a strong showing that he

is likely to succeed on the merits; (2) whether the applicant will be irreparably injured absent a

stay; (3) whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” Nken v. Holder, 556 U.S. 418, 433-434 (2009)

(citation omitted); Grimmett v. Freeman, No. 22-1844, 2022 U.S. App. LEXIS 24124, at *1 (4th

Cir. Aug. 23, 2022) (per curiam) (emphasis added). The first two factors of this standard are the

most critical, and it is not enough to show some “possibility of irreparable injury” or that the chance

of success on the merits be “better than negligible.” Nken, 556 U.S. at 434-35 (citations omitted);

Protect Our Parks, Inc. v. Buttigieg, 10 F.4th 758, 763 (7th Cir. 2021) (“the mere possibility of

success is not enough; [a plaintiff] must make a “strong” showing on the merits.”)

       Preliminary injunctions are “extraordinary remed[ies] involving the exercise of very far-

reaching power,” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (preliminary

                                                  4
         Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 5 of 22



injunction is “an extraordinary remedy”); Direx Isr., Ltd. v. Breakthrough Med Corp., 952 F.2d

802, 811 (4th Cir. 1992).

       This Court should deny Plaintiffs’ Emergency Motion because it does not meet the

“demanding” four-part test for an injunction pending appeal.

                                          ARGUMENT

I.     Plaintiffs’ Motion Does Not Comply with This Court’s Previous Orders.

       The District Court’s Case Management Order requires a party to file a Notice of Intent to

File a Motion (in the form of a letter to the Court) before filing a motion. (ECF 11 at 2.) A party’s

required Notice of Intent must contain “a brief description of the motion sought to be filed, a brief

summary of the particularized factual and legal support for the motion [and] … shall contain

sufficient information to demonstrate that it is premised on colorable, good-faith arguments and is

not frivolous or brought for any improper purpose…” (ECF 11 at 2-3).

       Plaintiffs did file a Notice, but they requested permission to seek “an injunction pending

appeal only with respect to the County’s bans on possession and transport of firearms in the

County’s 100-yard exclusionary zones by a person who has a wear and carry permit issued by the

Maryland State Police.” (ECF 87 at 1) (emphasis in original). Plaintiffs’ Notice goes on to promise

this Court and the County that their “Rule 8 motion thus will not seek relief as to whether the

County may ban possession of all firearms within the specific locations identified by the County’s

definition of a ‘place of public assembly.’” (ECF 87 at 3) (emphasis added).

       In direct contradiction to the Letter, the Plaintiffs’ Emergency Motion seeks to enjoin

firearms restrictions within a place of worship, which the County Firearms Law defines as a place

of public assembly. (ECF 87). At no time did Plaintiffs inform this Court or the County that they

intended to seek relief or offer arguments exceeding the scope of their Notice.



                                                 5
           Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 6 of 22



       Accordingly, this Court should summarily deny the relief sought in the Emergency Motion

pertaining to the County’s restriction of firearms in places of worship under MCC § 57-11. 3

II.    This Court Should Strike Plaintiffs’ New Factual Allegations and Exhibits.

       Plaintiffs’ Emergency Motion improperly attempts to introduce before this Court new

factual allegations and evidence not offered in conjunction with their underlying Motion for

TRO/PI, which is the subject of their interlocutory appeal. This includes new factual allegations

and maps (ECF 93 at 15-18), the 32-page expert report of Daniel Carlin-Weber, which Plaintiffs

are attempting to submit for the first time to this Court as a “Declaration” (ECF 93-1), and the

Second Supplemental Declaration of Allan Barall (ECF 93-2).

       This Court should strike Plaintiffs’ improper attempt to introduce new factual allegations

and evidence, all of which were available to Plaintiffs at the time they filed their Motion for

TRO/PI. Plaintiffs offer no explanation for their late and improper attempt to supplement their

argument.

       “After an appeal has been filed, a district court reviewing a [Rule 8] motion … generally

is ‘not permitted to examine new evidence’ that was available to the party at the briefing

stage.” Dmarcian, Inc. v. Dmarcian Eur. BV, 2021 U.S. Dist. LEXIS 150517, *7) (W.D. N.C.,

August 11, 2021) (citing Graveline v. Johnson, No. 18-12354, 2018 U.S. Dist. LEXIS 148436,

2018 WL 4184577, at *3 (E.D. Mich. Aug. 30, 2018) (citation omitted)). Notably, each of these

supplemental factual allegations and exhibits were previously available to the Plaintiffs; this Court

should strike them as “an improper attempt to “backfill” the record. See Dmarcian, Inc., 2021 U.S.




       3
         Wisely, the Plaintiffs have abandoned in this Court their claim for injunctive relief
(presented to the Fourth Circuit) as to MCC § 57-10. Not only is that claim unaddressed in their
Notice of Intent, it is also unaddressed in (1) their Motion for TRO/PI, the denial of which they
are appealing and (2) their Second Amended Complaint.
                                                 6
         Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 7 of 22



Dist. LEXIS 150517 *7. None of Plaintiffs’ “new” factual allegations contain any “new”

information or recent developments that was not available at the time they filed their Motion for

TRO/PI. This court should not consider Plaintiffs’ supplemental evidence that they “simply

overlooked or forgot the first time around.” Newspaper, Newsprint, Mag. & Film Delivery Drivers,

Helpers, & Handlers, Int'l Bhd. of Teamsters, Loc. Union No. 211 v. PG Publ'g Co., No. 2:19-CV-

1472-NR, 2019 U.S. Dist. LEXIS 232000, 2019 WL 9101872, at *3 (W.D. Pa. Dec. 27, 2019).

       The Declaration of Daniel Joseph Carlin-Weber is the most egregious example of

Plaintiffs’ attempt to offer supplemental evidence. (ECF 93-1). Carlin-Weber has a background in

“various computer technologies” and executed his declaration on July 17, 2023 (11 days after this

Court’s Order denying Plaintiffs’ Motion for TRO/PI) (ECF 93-1 at 1). Notably, Carlin-Weber’s

Declaration is 32 pages long (longer than the Emergency Motion) and so long that it required its

own Table of Contents to navigate. Id. at 3. The Methodology Section of Carin-Weber’s

Declaration alone is five pages long. Carlin-Webber’s Declaration alone contains tens (if not over

100) supplemental factual allegations.

       Carlin-Weber’s self-serving report details “queries” his research team performed for terms

such as “childcare” or “hospitals” and creating maps to enable him to come to various expert and

legal conclusions, such as, “of Montgomery County’s 506.91 square miles, 106.45 are excluded

from carrying a loaded firearm by Bill 21-22E.” Id. at 11. Carlin-Weber’s statement is a

“declaration” in name only: it is actually an expert report and contains language routinely used by

testifying experts in their FRCP Rule 26 reports, such as “preparation of this declaration was

assisted by persons under my immediate control and review…” Id. at 2. It is not surprising that

Carlin-Weber required assistance from others to research and draft his 32-page report. Critically,

Carlin-Weber has not been accepted as an expert witness in this court and his methodology and



                                                7
         Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 8 of 22



scientific and legal conclusions have not been vetted or subject to cross examination which they

would have been had Plaintiffs timely disclosed his opinions in this Court. His report also relies

heavily upon technologies and online mapping tools which have also not been established to be

reliable or accurate. Yet the Plaintiffs would now have this court accept his conclusory and

unvetted scientific and legal opinions. Query why Plaintiffs would submit such extensive

supplemental evidence if they truly believed, as they say, that the factual allegations before the

district court were sufficient to prevail on the merits of its Motion for TRO/PI. (ECF 93 at 9).

       However, despite its lengthiness, all of the information contained in the Carlin-Weber’s

Declaration was available to Plaintiffs at the time Bill 21-22E was enacted on November 28, 2022,

and at the time they filed their Motion for TRO/PI on December 6, 2022. At no time did Plaintiffs

seek to amend their Motion for TRO/PI to include the lengthy supplemental arguments contained

in the Carlin-Weber Declaration.

       While the County has not had reasonable and necessary time to fully evaluate Carlin-

Weber’s Declaration, a cursory review of it reveals numerous, readily apparent errors in both its

methodology and conclusions. For example, Carlin-Weber’s maps do not reflect the existence of

the private residence exception (MCC § 57-11(b)(3)) or the business exception (MCC § 57-

11(b)(4)) where a firearm may be kept under the County Firearms Law. Using Carlin-Weber’s

map as support, the Emergency Motion incorrectly concludes that “it is literally impossible to drive

in or through the County…with a firearm without quickly entering one or more of these 100-yard

exclusionary zones [set forth in Section 57-11].” (Doc. 10-1 at 11). This is also inaccurate as a

person can transport the weapon in a locked case, separate from its ammunition (MCC § 57-

11(b)(4)).

       The Second Supplemental Declaration of Allan D. Barrall should also be struck as it is an



                                                 8
         Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 9 of 22



attempt to provide new factual allegations to rebut the District Court’s opinion and “back-fill” the

record. Just as with the Declaration of Carlin-Webber, the Second Supplemental Declaration of

Barrall provides no new evidence that was not available at the time the Motion for TRO/PI was

filed, including Mr. Barrall’s use of Google Maps to render legal conclusions about the County

Firearms Law.

       A.       Plaintiffs’ Fourth Circuit Filings Demonstrate Why Plaintiffs’ New and
                Supplemental Factual Allegations and Exhibits Should be Struck.

       Plaintiffs previously and unsuccessfully attempted to submit identical supplemental factual

allegations and exhibits, including the Carlin-Weber expert report, to the Fourth Circuit in their

Emergency Motion for a Rule Injunction Pending Appeal on August 17, 2023. (Doc. Nos. 10, 10-

7). The County filed a motion to strike Plaintiff’s improper new supplemental allegations,

including the Carlin-Weber report, in the Fourth Circuit. (Doc. No.14, attached as Ex. 1). Plaintiffs

filed an opposition to the motion to strike in the Fourth Circuit (Doc. 17) to which the County filed

a reply (Doc. 20). (Doc. 17 and Doc. 20 are attached hereto as Ex. 2 and 3, respectively).

       As to the substance of the Carlin-Weber report, Plaintiffs’ Opposition to the Motion to

Strike in the Fourth Circuit contradictorily vacillates between highlighting the difficulty (“it was

hard to do”) and time demands (could not “marshal necessary resources”) of producing the Carlin-

Weber Report, but also downplaying the report as nothing more than a series of internet searches

capable of being performed by any member of the public (“any reasonable capable person with a

modicum of computer experience could duplicate those steps and come to the same result…”) (Ex.

2, Doc. 17 at 4, 6) (emphasis in original). Of course, the County disagrees with Plaintiffs’

conclusions about the simplicity of the Carlin-Weber report, because, among other things, Carlin-

Weber required a research team under his supervision to complete it. Id. at 2 (“preparation of this

declaration was assisted by persons under my immediate control and review…”).

                                                 9
        Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 10 of 22



       The irony should not escape this court that if the results of the Carlin-Weber Report could

actually be replicated by any John Doe of average intelligence with a laptop (even without a team

of supporting researchers) that there is no reasonable explanation as to why Plaintiffs were

unwilling or unable to timely submit the Carlin-Weber report to this Court at any time during the

seven (7) months from when the Motion for TRO/PI (ECF 52) was filed on December 6, 2022 and

when the Court issued its order on July 6, 2023. (ECF 83). 4

       The length and complexity of the Carlin-Weber report is self-evident and the undue

prejudice to the County here is obvious. Plaintiffs are attempting to reargue their position by

providing complex new supplemental evidence in an attempt to essentially re-litigate that which

has already been ruled upon by this Court and thus would create the prospect of endless litigation.

Furthermore, “requiring parties to present the entire available factual record when moving for or

opposing a preliminary injunction promotes diligence and preserves judicial resources that would

otherwise be expended combing through multiple rounds of briefing.” Dmarcian, Inc, U.S. Dist.

LEXIS 150517, *8.




       B.      Plaintiffs’ Interpretation of Rule 8 is Flawed.

       As set forth in Plaintiffs’ Opposition to the Motion to Strike in the Fourth Circuit,

Plaintiffs’ primary argument as to why they should be permitted to include significant new factual

allegations and evidence in their request for a preliminary injunction pending appeal is based upon




       4
           MSI argued in its Opposition to the Motion to Strike in the Fourth circuit that it should
be permitted to file new and late evidence with its Rule 8 motion because it is an “‘all-volunteer,’
non-profit organization…” (Ex. 2, Doc. 17 at 4). MSI’s non-profit status is not a magic wand that
can be used to waive the Federal Civil and Appellate Rules of Procedure, it is a frequent and active
litigant, and it should not be permitted to purposefully ignore them to the prejudice to the County.
                                                10
        Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 11 of 22



a novel and unsupported interpretation of Rule 8. (Ex. 2, Doc. 17 at 2). Plaintiffs are of the

mistaken belief that Rule 8’s reference to “copies of … sworn statements supporting facts subject

to dispute” somehow permits the unrestricted introduction of new evidence to this court because

Rule 8 also separately references “relevant parts of records.” Id. Plaintiffs do not offer any legal

citation or legislative history to support their strained interpretation of Rule 8.

        Wherefore, for the reasons set forth herein, Plaintiffs’ improper attempts to include new

and supplemental factual allegations and exhibits in the Emergency Motion should be struck.

III.    This Court Should Deny Plaintiffs’ Request for Emergency Injunctive Relief.

        A.        The Limitations in Chapter 57 Are Not What Plaintiffs Would Have This
                  Court Believe Them to be.

        Plaintiffs overstate grossly the reach of the County Firearms Law. They characterize the

County’s restrictions on public carry as banning the ability to carry a firearm throughout the

County, including private property. This is simply not true. The County’s law restricts firearms in

places of public assembly, and that restriction does not apply to:

              •   possession of a firearm or ammunition in a person’s home; 5

              •   possession of a firearm and its ammunition at a business by its owner or an
                  authorized employee of the business; 6

              •   a law enforcement officer or a licensed security guard; 7

              •   a retired law enforcement officer; 8 and

        5
         See MCC § 57-11(b)(2). This exception does not include ghost guns and undetectable
guns. See id.
        6
        See MCC § 57-(b)(4). Both the business owner and employee must have State-issued
wear-and-carry permits. See id.
        7
            See MCC § 57-11(b)(2).
        8
            The Law Enforcement Officers Safety Act permits a qualified law enforcement officer or


                                                   11
           Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 12 of 22




             •   the transport of a firearm in a vehicle when it is locked in a case, separate from its
                 ammunition. 9

       Plaintiffs’ newfound maps, which as noted above should not even be considered by this

Court, fail to show the private residence or business exceptions where a gun may be kept. Contrary

to Plaintiffs’ assertions, it is possible to carry a weapon anywhere outside of one’s home in the

County, as a person can transport the weapon in a locked case, separate from its ammunition.

Plaintiffs’ maps are therefore inaccurate and misleading.

       The County’s restrictions are not the totalitarian hand of government reaching into

Plaintiffs’ homes and private property as Plaintiffs’ breathless hyperbole would have this Court

believe.

       B.        This Court Correctly Concluded That Plaintiffs Are Not likely to Succeed on
                 the Merits.

       Under New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022), if

the Second Amendment applies to the conduct regulated by the government, there is only one step

for a court to consider: whether the government can justify its regulation by demonstrating it is

“[c]onsistent with the Nation’s historical tradition of firearm regulation.” Id. at 2130.

       Bruen identified five 10 “sensitive places” where firearms historically could be prohibited:

schools, government buildings, legislative assemblies, polling places, and courthouses. See id. at




a qualified retired or separate law enforcement officer to carry a concealed weapon regardless of
state or local laws. See 18 U.S.C. §§ 926B, 926C.
       9
         See MCC § 57-11(b)(5)(A). This exception does not include ghost guns and undetectable
guns. See id.
       10
          Plaintiffs’ Emergency Motion omits schools and government buildings from their list,
incorrectly asserting that Bruen identified only three locations where firearms may be banned.
(ECF 93 at 5.)
                                                  12
         Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 13 of 22



2133. The Court instructed courts to “use analogies to those historical regulations of ‘sensitive

places’ to determine [whether] modern regulations prohibiting the carry of firearms in new and

analogous sensitive places are constitutionally permissible.” Id. at 2133 (emphasis in original).

        The five sensitive places in Bruen are not exhaustive, and a government may justify its

regulation by identifying other “relevantly similar” historical regulations. See id. at 2132. Bruen

listed two metrics for courts for a “relevantly similar” analysis: “how and why the regulations

burden a law-abiding citizen’s right to armed self-defense.” Id. at 2133. The historical analogue

analysis therefore should review “[w]hether modern and historical regulations impose a

comparable burden on the right of armed self-defense and whether that burden is comparably

justified.” Id. at 2133.

        The “how” and “why” metrics are central to the analysis, but they are not the only metrics

for a court to review. See id. at 2132. In addition to the “how” and “why” metrics, the task of

analogue analysis can be a “straightforward” assessment if the challenged law “addresses a general

societal problem that has persisted since 18th century.” Id. at 2131. The absence of a similar law

addressing the ongoing historical problem is relevant evidence that the new law is unconstitutional.

See id. at 2131. But for laws that implicate “unprecedented societal concerns or dramatic

technological changes,” a more “nuanced” approach may be required, as “[t]he regulatory

challenges posed by firearms today are not always the same as those that preoccupied the Founders

in 1791 or the Reconstruction generation in 1868.” Id. at 2132 (emphasis added).

        To that end, the analogue analysis as “[n]either a straightjacket nor a regulatory blank

check.” Id. at 2133. Analogical reasoning only requires that the government “[i]dentify a well-

established and representative historical analogue, not a historical twin.” Id. at 2133 (emphasis in

original). Even if a challenged law is not a “[d]ead ringer for historical precursors, it still may be



                                                 13
        Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 14 of 22



analogous enough to pass constitutional muster.” Id. at 2133.

       Bruen does not support the Plaintiffs’ argument that only “Founding Era” laws are

instructive in the analogue analysis. (ECF 93 at 7). Bruen acknowledged the debate between

whether the laws at the time of the Second Amendment’s adoption (1791) or the ratification of the

Fourteenth Amendment (1868) are more instructive. See Bruen at 2138. But the Court expressly

did not weigh in on which era is definitive. See id. 11 Rather, the Court stated the laws in both eras

supported its conclusion that New York’s law requiring “proper cause” to carry in public did not

pass constitutional muster. See id. 12

       Many courts, both prior to Bruen 13 and after, 14 considered Reconstruction Era laws as

pertinent to Second Amendment challenges to government regulations. As noted by this Court, the

Second Amendment originally applied only to the Federal Government. See McDonald v. City of

Chicago, 561 U.S. 742, 754 (2010); Barron ex Rel. Tiernan v. Mayor of Balt., 32 U.S. (7 Pet.) 243,

250-51 (1833). Thus, sources from the time of the Fourteenth Amendment’s ratification are

“equally if not more probative of” the scope of the Second Amendment’s right to bear arms. See




       11
         The County believes that Plaintiffs had it right the first time when, in their Motion for
TRO/PI, they agreed in that Bruen did not resolve this debate. (ECF 54-1 at 12).
       12
           “[A] short review of the public discourse surrounding Reconstruction is useful in
demonstrating how public carry for self-defense remained a central component of the protection
that the Fourteenth Amendment secured for all citizens.” Bruen at 2150.
       13
          See Gould v. Morgan, 907 F.3d 659, 669 (1st Cir. 2018); Ezell v. City of Chicago, 651
F.3d 684, 702 (7th Cir. 2011); United States v. Greeno, 679 F.3d 510, 518 (6th Cir. 2012).
       14
         See Goldstein v. Hochul, No. 22-CV-8300 (VSB), 2023 U.S. Dist. LEXIS 111124, at
*30-31 (S.D.N.Y. June 28, 2023); Frey v. Nigrelli, No. 21-CV-05334 (NSR), 2023 U.S. Dist
LEXIS 42067 at *39, *48-49 (S.D.N.Y. March 13, 2023).


                                                 14
        Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 15 of 22



ECF 82 at 18. 15

       Contrary to Plaintiffs’ assertion of broad rights of armed confrontation, the Second

Amendment right to bear arms is not a “right to keep and carry any weapon whatsoever in any

manner whatsoever and for whatever purpose.” District of Columbia v. Heller, 554 U.S. 570, 626

(2008). The Second Amendment right to bear arms for purposes of self-defense is most acute in

one’s own home. See Heller, 554 U.S. at 628. And an individual’s Second Amendment right to

possess a firearm for self-defense is not limitless and is appropriately subject to government

regulation. See Bruen at 2162 (Kavanaugh, J., concurring) (“[p]roperly interpreted, the Second

Amendment allows a ‘variety’ of gun regulations” (quoting Heller, 554 U.S. at 636)); McDonald

v. City of Chicago, 561 U.S. 742, 786 (2010) (noting that it is “important to keep in mind” that

Heller did not cast doubt on certain “longstanding regulatory measures” in connection with

firearms); Heller, 554 U.S. at 595 (2008) (the right to keep and bear arms is “not unlimited”).

As discussed below, under Bruen’s analysis, the County’s Firearms Law is constitutional.

               1.     The County Identified Multiple Historical Analogues for its
                      Prohibition Against Firearms in a 100-Yard Buffer Zone Around
                      Places of Public Assembly.

       Precedent for a buffer zone 16 around various areas, activities, and populations can be found

in many historical laws.

       Maryland prohibited guns within one mile of polling places on election days in Calvert

County (1886 and 1888) and in Kent, Queen Anne’s, and Montgomery Counties (1874). See Exs.




       15
          Indeed, the Second Amendment was made applicable to the States via the Fourteenth
Amendment only 13 years ago. McDonald v. City of Chicago, 561 U.S. 742 (2010).
       16
          As context for the County’s “buffer zone,” the State statute authorizing the County’s
Firearms Law provides that the County may regulate firearms “within 100 yards of or in a park,
church, school, public building, and other place of public assembly” See Md. Code Ann., Crim.
Law § 4-209(b) (2021).
                                                15
         Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 16 of 22



4, 5, 6. Louisiana in 1870 similarly prohibited guns within “one-half mile of any place of

registration” for elections. See Ex. 7.

        To protect water fowl, Somerset County in 1837 banned guns in or within 50 yards of any

water fowl blind on Smith Island. See Ex. 8.

        Many localities (Philadelphia; St. Paul; Pittsburgh; Reading, Pennsylvania; Trenton, New

Jersey) banned guns within 50 or 100 yards of their parks, squares, or common areas between 1868

and 1903. See Exs. 9, 10, 12, 12, 13, 14.

        New Mexico, in 1887 when it was still a Territory, 17 prohibited the unlawful brandishing

of a weapon within a “settlement,” defined to mean “any point within three hundred yards of any

inhabited house.” See Ex. 15.

        Mississippi prohibited the concealed carry of weapons within two miles of a university,

college, or school in 1892. See Ex. 16. And Connecticut in 1859 banned the sale of liquor “within

one mile of any military parade-ground, muster-field, or encampment.” See Ex. 17.

        These historical laws expressly prohibit weapons in buffer zones around sensitive areas. If

Maryland historically protected water fowl with a buffer zone, certainly human life in areas of

public assembly can be protected by a buffer zone. The County’s regulation of firearms within 100

yards of places of public assembly is consistent with historical firearm regulation and is

constitutional. 18



        17
           See Andrew Willinger, Territorial Gun Regulation and the “Lost” History of the Federal
Second Amendment, Duke Center for Firearms Law Blog (August 8, 2022)
https://firearmslaw.duke.edu/2022/08/territorial-gun-regulation-and-the-lost-history-of-the-
federal-second-amendment/ (arguing the Second Amendment has always applied in territories,
and historical territorial laws should be given weight despite the Bruen court’s discount of same).
        18
          Three federal circuits found firearm bans in government buildings included the parking
lots and property surrounding those buildings. See U.S. v. Class, 930 F.3d 460, 464 (D.C. Cir.


                                                16
          Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 17 of 22



                  2.      The County Identified Many “Twin” or “Dead Ringer” Laws
                          Prohibiting Guns in Places of Worship.

          As noted above, Plaintiffs failed to identify in their Notice of Intent the County’s Firearms

Law’s prohibition in places of worship as grounds for an injunction pending appeal.

          Assuming this Court elects to reach this issue despite that procedural deficiency, there are

many historical analogues to support the County’s ban on guns in places of worship. Georgia in

1870 and 1882 prohibited the carrying of a “pistol or revolver, or any kind of deadly weapon, to

any…place of public worship.” See Exs. 18, 19. The 1882 law excepted law enforcement. See Ex.

19. In 1870 and 1879, Texas prohibited any person from going into “any church or religious

assembly” with a gun. See Exs. 20, 21. The Texas laws did not apply, however, to law enforcement.

See id.

          Missouri in 1875, 1879, and 1883 prohibited firearms in any church or place where people

assembled for religious worship, except for law enforcement. See Exs. 22, 23, 24. Virginia

prohibited pistols or other dangerous weapons in 1877 in “any place of worship while a meeting

for religious purposes is being held at such a place, or without good or sufficient cause therefor.”

See Ex. 25.

          Arizona, while still a territory in 1889, prohibited the carry of “a pistol or other firearm” in

“any church or religious assembly.” See Ex. 26 § 3. This prohibition did not apply to law

enforcement. See id. § 4.

          In 1890, Columbia, Missouri prohibited anyone other than police officers from carrying

dangerous weapons “into any church, or place where people have assembled for religious




2019); Bonidy v. U.S. Postal Serv., 790 F.3d 1121, 1123, 1124-25 (10th Cir. 2015); U.S. v.
Dorosan, 350 Fed. Appx. 874, 875-76 (5th Cir. 2009). These decisions predated Bruen, but all
relied heavily upon the Heller court’s discussion of “sensitive locations,” which Bruen augmented.
                                                    17
        Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 18 of 22



worship.” See Ex. 27.

        When it was still a territory, Oklahoma, in 1890 and 1893, prohibited the carry of firearms

by anyone other than a peace officer into “any church or religious assembly.” See Ex. 28, 29.

        In 1894, Huntsville, Missouri, prohibited the carry of a deadly or dangerous weapon in

“any church or place where people have assembled for religious worship.” This prohibition did

not apply to police officers. See Ex. 30.

        These historical precursors are exact matches of the County’s prohibition of guns in places

of worship. Like these laws, the County’s law does not apply to law enforcement officers or

security guards.

        In addition to these historical statutory precursors, several courts in the 1870s viewed

churches or places of worship as no place for firearms. See Hill v. State, 53 Ga. 472, 475 (Ga.

1874) (carrying arms at places of worship improper and not protected by constitution); English v.

State, 35 Tex. 473, 478-79 (Tex. 1872) ( finding it “[l]ittle short of ridiculous” that anyone should

claim right to carry weapon into a peaceful public assembly such as church); Andrews v. State, 50

Tenn. 165, 182 (Tenn. 1871) (observing it is not appropriate to carry arms to church and such

practice may be prohibited). 19

        Given the “twin” historical analogues above, as well as the historical views of courts on

the impropriety of firearms in places of worship, the County’s gun restriction in places of worship

is constitutional.




        19
          While Bruen distinguished the English decision and some statutes relied upon by the
County, it did so only in the context of assessing the “proper cause” requirement in in New York’s
public carry law, not in the context of a “sensitive places” analysis required in this appeal. Bruen
at 2133-34 (observing defenders of New York’s law “[e]rr in their attempt to characterize New
York’s proper-cause requirement as a ‘sensitive-place law’”).
                                                 18
          Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 19 of 22



          C.     This Court Properly Found No Irreparable Harm to Plaintiffs.

          The County’s removal of the ability of State wear-and-carry permit holders in places of

public assembly via Bill 21-22E has been in effect since November 28, 2022, for over nine (9)

months. Plaintiffs’ assertions of exigency and irreparable injury ring hollow given this passage of

time. There is no exigency or immediate harm to Plaintiffs under these circumstances.

          D.     This Court Properly Held That the Balance of Equities and the Public
                 Interest Weigh in Favor of the County.

          When a temporary restraining order is sought against the government, “the government’s

interest is the public’s interest,” and the third and fourth elements necessary for an injunction – the

balance of the equities and the public interest – merge. See Nken v. Holder, 556 U.S. 418, 435

(2009).

          Staying enforcement of Bills 4-21 and 21-22E will undermine the public’s strong interest

in preventing gun violence in areas where people, especially vulnerable populations, congregate.

The County Council enacted the Bills in direct response to (a) an increase in ghost guns in the

community 20 (including one high school student shooting another student with a ghost gun at




          20
          The number of guns, excluding ghost guns, confiscated by County Police increased 51%
in 2021. See Montgomery County, Maryland, Office of Legislative Oversight, Memorandum
Report No. 2022-13 at 13 (2022),
 https://www.montgomerycountymd.gov/OLO/Resources/Files/2022_reports/OLOReport2022-
13.pdf.


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        Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 20 of 22



school in the middle of the school day 21), (b) an increase in gun violence in the country 22 and the

County, 23 and (c) an increase the number of gun permit applications in Maryland following

Bruen. 24 With these unquestioned facts, the Council enacted the laws it believed necessary for the

safety and welfare of its residents. Enjoining the County’s law will strip residents of these

protections in this atmosphere of heightened gun violence.

       The balance of the equities and the public interest weigh in favor of the County, which

enacted the challenged law in response to the rise of gun violence, and to protect the safety of the

public when exercising their constitutional right to assemble.

                                         CONCLUSION

       This Court need not reach two-thirds of Plaintiffs’ arguments for the reasons noted above.

       For the sole issue that is only arguably properly before this Court—the challenge to the

County’s 100-yard buffer zone around places of public assembly—Plaintiffs failed to meet the

demanding standard for obtaining an injunction. Plaintiffs’ Emergency Motion should be denied,




       21
          Darcy Spencer, Maryland Teenager Sentenced to 18 Years for Shooting Student at
Magruder High, NBCwashington.com, December 22, 2022,
https://www.nbcwashington.com/news/local/maryland-teenager-sentenced-to-18-years-for-
shooting-student-at-magruder-high/3239939/.
       22
           In 2020, 45,222 people died from gun-related injuries in the United States—the most in
any year recorded. See Doc. 10-12 at 21. Gun deaths are now the leading cause of death for
children, teens, and young adults in the country. See Bruen at 2165.
       23
          As of July 2022, nonfatal shootings were up 75% in the County, and noncontact
shootings increased 29% compared to the same period in 2021. See Dan Morse, Gun violence rises
sharply in Montgomery County, police chief says, The Washington Post, July 11, 2022,
https://www.washingtonpost.com/dc-md-va/2022/07/11/montgomery-county-gun-violence-
double/.
       24
          See Fredrick Kunkle, Supreme Court ruling sets off rush for concealed gun permits in
Maryland, The Washington Post (July 25, 2022)
https://www.washingtonpost.com/dc-md-va/2022/07/15/concealed-carry-maryland-guns-hogan/.
                                                 20
       Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 21 of 22



and new and improper evidence struck.

                                        Respectfully submitted,

                                        JOHN P. MARKOVS
                                        COUNTY ATTORNEY

                                              /s/
                                        Edward B. Lattner, Deputy County Attorney
                                        edward.lattner@montgomerycountymd.gov
                                        Bar No. 03871

                                                /s/
                                        Erin J. Ashbarry
                                        Associate County Attorney
                                        erin.ashbarry@montgomerycountymd.gov
                                        Bar No. 26298


                                               /s/
                                        Matthew H. Johnson
                                        Associate County Attorney
                                        matthew.johnson3@montgomerycountymd.gov
                                        Bar No. 17678

                                        Attorneys for Defendant Montgomery County,
                                        Maryland
                                        101 Monroe Street, Third Floor
                                        Rockville, Maryland 20850-2540
                                        (240) 777-6700
                                        (240) 777-6705 Fax




                                          21
       Case 8:21-cv-01736-TDC Document 95 Filed 09/06/23 Page 22 of 22



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 6, 2023, a copy of the foregoing was filed to be

transmitted via this Court’s CM/ECF Electronic Document Filing System to:

              Mark W. Pennak
              Maryland Shall Issue, Inc.
              9613 Harford Rd., Ste C #1015
              Baltimore, Maryland 21234-21502
              mpennak@marylandshallissue.org


                                                                /s/
                                                        Erin J. Ashbarry




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